 

Case: 1:03-cv-09465 Document #: 118 Filed: 09/02/05 Page 1 of 11 PagelD #:733

THE UNITED STATES DISTRICT COURT We
FOR THE NORTHERN DISTRICT OF LLLINOIS F
EASTERN DIVISION | L E D
CLARENCE GROSS, ) SEP ~ 2 Don.
f\ H,
Plaintiff, ‘A
aintiff, GLanK, am ea: BEINS
v. ) ROMA
)
TOWN OF CICERO, BETTY LOREN- ) Case No. 03 C 9465
MALTESE, Former President of the TOWN )
OF CICERO, and Ramiro GONZALEZ, )
PRESIDENT OF THE TOWN OF CICERO, ) Honorable Judge
and EDWARD R. VRDOLYAK, individually, ) John W. Darrah
)
Defendants. )

DEFENDANT EDWARD R, VRDOLYAK’S RULE 56.1 STATEMENT OF
UNCONTESTED FACTS MEMORANDUM
IN SUPPORT OF TIS MOTION FOR SUMMARY JUDGMENT
Defendant, Edward Vrdolyak, submits the following statement! of uncontested
facts in support of his Motion for Summary Judgment as follows:
The Parties

1. Clarence Gross is a former employce of the Town of Cicero, (Amended
Complaint (AC 4 3).

2. Clarence Gross retired as a police officer from the Town of Cicero Police
Department in 1997. (Clarence Gross dep at 209),

3. In 1998, Betty Loren-Maltese appointed Clarence Gross as oe of the Town

of Cicero Board of Fire and Police Commissioners (“BOFPC”). (Clarence Gross

dep at 209-210).

 

"Due to delays with the plaintiff’s court reporter, several deposition transcripts were no available in time to
meet this Court's deadline for filing a summary judyment papers, including the full or partial transcripts for
Vidolyak, Gonzalez, Plaintiff and others. As such, Defendants reserve their right to atnend, modily or
supplement these materials as additional transcripts become available.
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Clarence Gross's appointment to the BOFPC required the concurrence of the
Town Board. (Clarence Gross dep at 210).

The Town Board concurred in Clarence Gross bemg appointed as Chainnan of the
BOFPC, (Clarence Gross dep at 210).

Clarence Gross was appointed for a three year term from January 1998 through
December 2000. (Clarence Gross dep at 210-211).

Clarence Gross was appointed as Deputy Liquor Commissioner in April 1997
after he retired. (Clarcnce Gross dep at 213).

Clarence Gross was appoinied as Director of Intemal Services in April 1997 alter
he retired. (Clarence Gross dep at 213).

Clarence Gross was appointed to the 911 Board in 1997, (Clarence Gross dep at
213).

Clarence Gross claims that Betty Loren-Maitese euaranteed him employment for

eight years commencing in 1997, (Clarence Gross dep at 303).

. Clarence Gross knew that the lerm for a Town President was only four (4) years.

(Clarence Gross dep at 304).

When Clarence Gross was appointed as Chairman of the BOFPC in January 1998,
he recerved no additional compensation for serving m that position. (Clarence
Gross dep at 214).

Rhonda Gross was hired in 1999 as a Police Officer by her father, Clarence Gross,
who was Chairman of the Board of Poltce, Fire and Pubhie Safety Commissioners

in the Town of Ciccro. (Clarcnee Gross dep at 127).

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. Rhonda has served as a Patrol Officer since that time and remains employed as of
this date.

In June 2001, Rhonda Gross filed a Charge of Discrimination with the EEOC
claiming that Jerald Rodish — another Cicero police officer — had sexually
harassed her, (See Charge)

She scttled that claim for $1500 and agrecment from the Town to conduct
training.

She later filed a second charge alleging retaliation. (See Rhonda Gross Charge)
Defendant Betty Lorcn-Maltese is the former Town President of Cicero.

Betty Loren-Maltese served as Town President in Cicero from 1993 to August
2002. (Betty Loren-Maltese dep at 22, Ramiro Gonzalez dep at 11)

Betty Loren-Maltese ncver acted in any official capacity after her resignation
from office in August 2002.

Afler Betty Lorcn-Maltese resigned, Rannro Gonzalez took office as Town
President,

Ramiro Gonvalex took office as Town President on September 10, 2002.
Ramiro Gonzalez served as Town President from September 10, 2002 until May
9, 2005.

Edward Vrdolyak is an attorney licensed to practice law in the State of Nlmois.
Edward Vidolyak’s firm has becn hired from time to time to act as outside
counsel representing the Town of Ciccro and various town officials and/or

employees regarding various litigated mallers.

 
 

 

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26. Neither Edward Vrdolyak nor his firm has ever scrved as Town Attorney.
(Clarence Gross dep at 207, 300-301)
27. Neither Edward Vrdolyak nor his firm has ever been appointed to act as Town

Attorney. (Clarence Gross dep at 207, 300-301 ).

THE CLAIMS
Conspiracy

98 Gross claims thal defendant Edward Vrdolyak conspired with town officials to
infringe upon his First Amendment rights and to deny him equal protection of the laws.
(AC J 12, 13)

29, Vrdolyak did not conspire with fellow defendants Betty Loren-Maltese and
Ramiro Gonzales {o take any action whatsoever against Plaintiff Gross.

30. Gross claims Edward Vrdolyak with Betty Loren-Maltese and Ramiro Gonzalez
conspired to retaliate against him in violation of his First Amendment rights because he
complained about his daughter’s alleged sexual harassment,

31. Edward Vrdolyak, Ramiro Gonzalez and Betty Loren-Maltese never conspired to
retaliate against Clarence Gross (Clarence Gross dep at 363).

32. Edward Vrdolyak and Betty Loren-Maltese never di scussed plaintiff or his
daughier.(Betty Loren-Maltese dep at 195)

33. Bdward Vrdolyak, Ramiro Gonzalez and Betty Loren-Malicse never had any
meetings about the plaintiff or his daughter. (Betly Loren-Maltese dep at 195)

34. Betty Loren-Maltese and Edward Vrdolyak never discussed Rhonda’s EEOC

charge (Betty Loren-Maltese dep at 195)

 
 

 

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Plaintiff's Speech Claims

45. Gross alleges he spoke to Betty Loren-Maltese on al least a “half dozen”
occasions regarding the harassment his daughter was allegedly receiving from Jerald
Rodish (Clarence Gross dep at 15).

36. In his deposition, Gross testified that he never actually voiced any complaint to
Betty Loren-Maltese regarding sexual harassment. (Clarence Gross dep at 200- 205)

37. Gross never actually spoke to Betty Loren-Maltese about the manner in which
Rhonda was being treated in the Cicero Police Department. (Clarence Gross dep at 200 --
205)

38. Gross never actually told Betty Lorcn-Maltese that Rhonda was being sexually
harassed. (Clarence Gross dep at 200 — 205)

39. Gross never used the term “sexual harassment” in any conversation with Betty
Loren-Maltese. (Clarence Gross dep at 200-205)

40, Grogs never used the phrase “retaliation” in any conversation with Betty Loren-
Maltese. (Clarence Gross dep at 200-205)

4]. Gross never mentioned Rodish’s name in any conversation with Betty [orcn-
Maltese. (Clarence Gross dep at 200-203)

42. In each of his first five conversations with Betty Loren-Maltese, Clarence Gross
never related any specific facts or circumstances of any alleged meident involving
Rhonda Gross. (Clarence Gross dep at 202-203).

43. In his deposition, Gross admitted that Betty Loren-Maltcse only said to him “1

will talk to you later.” Or “we will talk later.” (Clarence Gross dep al 201-202)

 
 

 

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44, in his final atlempted “conversation” with Betty Lorcn-Maltese, Betty Loren-
Maltese told Clarence Gross to “Just call Eddie about it.” (Clarcnee Gross dep at 203),

45, Clarence Gross never spoke to Edward Vrdolyak about Rhonda Gross (Clarence
Gross dep at 207).

46. Clarence Gross never spoke to Edward Vrdolyak as suggested by the Town
President, Betty Lorcn-Maltese. (Clarence Gross dep at 207).

Rhonda’s Claim She Lost Hours at the School

47, Rhonda claims that she lost hours m 2000 working at a local school because she
refused to succumb to alleged sexual harassment. (Clarence Gross dcp at 197)

48. Clarence Gross never spoke to any school district about his daughter losing hours
due to the alleged harassment. (Clarence Gross dep at 199).

49, Clarence Gross never spoke to Belly Loren-Maltese about his daughters allegation
that she would be denied hours unless she performed sexual favors for Rodish. (Clarence
Gross dep at 197-198).

50. Any alleged conduct regarding a loss of hours at the school occurred more than 2
years prior to the complaint being filed in this cuse.

51. Betty Loren-Maltese was never involved with the schools district. (Clarence
Gross dep at 198).

52. Betty Loren-Maltese was never on the school Board. (Clarence Gross dcp at 198)

53, Betty Loren-Mallese was never the Superintendent of Schools. (Clarence Gross
dep at 198).

54, Betty Loren-Maltese never made any mquiries to the school or the school district

aboul his daughters’ allegation. (Clarence Gross dep at 199).

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The Moreno Matter

35. Gross also alleges that Edward Vrdelyak conspired to preclude him from
testifying in the matter of Moreno v. Town of Cicero.

56, Clarence Gross alleges that Edward Vrdolyak telcphoned him and said that he
knew that Clarence Gross had been speaking to the Moreno attorneys. (AC 4j 30).

57. Clarence Gross alleges that Edward Vrdolyak threatened Clarence Gross that if he
did not remain silent Clarence Gross would not receive his back pay. (AC { 30).

58. Clarence Gross alleges that Edward Vrdolyak threatened Clarence Gross not to
tell the truth when he testified in the Moreno matter. (AC 730).

59, In his deposition, Clarence Gross admits thal Edward Vrdolyak only said “Your
money matter won’t be settled until (he Moreno matter is settled.” (Clarence Gross dep al
330).

60. Tn his deposition, Clarence Gross admitted that Edward Vrdolyak never told him
not to tell the truth. (CJarence Gross dep at 330-331).

61. Clarence Gross never spoke with Betty Loren-Maltese regarding the Mereno
matter, (Clarence Gross dep at 355).

62, Clarence Gross never gave a deposition in the Moreno matter. (Clarence Gross
dep at 334)

63. Clarence Gross never testified at trial in the Moreao matter.(Clarence Gross dep
at 334).

The Termination

 
 

 

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64. Clarence Gross has no evidence that Vrdolyak ever spoke to Gonzalez or Loren-
Maltese about terminating him (Clarence Gross dep at 346-347)

65. Betty Loren Maltese never spoke to Edward Vrdolyak regarding Clarence Gross.
(Betty Loren Maltese dep at 185).

66. Betty Loren-Maltese never spoke to Ramiro Gonzalez about terminating Clarence
Gross. (Betty Loren Maltese dep at 191-1 92),

67. Betty Loren Maltese never spoke to Ramiro Gonzalez regarding Rhonda Gross.
(Betty Loren Maltese dep at 191).

68. Betty Loren-Mallese never directed Ramiro Gonzalez. to terminate any position
that Clarence Gross held with the Town. (Betty Loren-Maltese dep at 191).

69. Clarence Gross has no evidence that Edward Vrdolyak was involved in the
decision to terminate Clarence Gross from any position. (Clarence Gross dep at 306-307).

70. Clarence Gross has no evidence that there was ever any mecting between any of
the defendants at which the topic of Clarence Gross’s employment was discussed.
(Clarence Gross dep at 346).

7]. Clarence Gross has no evidence of that Vrdolyak or any of the other defendants
had or made any agreement not lo pay Clarence Gross any money (back wages)
(Clarence Gross dep at 348).

72. In his complaint, Clarence Gross alleges that he served as Director of Intcrnal
Services until January 2002.(AC 4 23).

73. In his deposition, Clarence Gross adsmtted that he worked as Director of Internal

Services through September 23, 2002. (Clarence Gross dep at 288).

 
 

 

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74. In his deposition, Clarence Gross admitted that he worked as Deputy Liquor
Comnissioner through September 23, 2002, (Clarence Gross dep at 289).

75, Clarence Gross alleges he was terminated from the 911 Board position in
October 2001. (AC 4 21).

76. Clarence Gross does not recall when he last attended a 911 Board meeting
(Clarence Gross dep at 287-88),

77. Clarence Gross cannot recall wheiher the last time he attended a 911 Board
meeting was before or afler he was terminated as Deputy Liquor Commissioner (Clarence
Gross dep at 287-288).

78, Betty Loren-Maltese never terminated Clarence Gross from his position as
Chairman of the BOFPC. (Betty Loren-Maltese dep at 198-199).

79. Clarence Gross was simply not reappointed to the BOFPC .

80. Betty Loren-Maltese never teminated Clarence Gross from any other position
(Clarence Gross dep at 216-217)

81. Betty Loren-Maltese never terminated Clarence Gross from the position of
Director of Internal Services Clarence Gross dep at 216-217, 259)

82. Betty Loren-Maltese never terminated Clarence Gross from the position of 911
Board member (Clarence Gross dep al 216-217, 259)

83. Betty Loren-Maliese never terminated Clarence Gross from the position of
Hearing Officer (Clarence Gross dep at 216-217, 259, 262-3)

84, Betty Loren-Maltese never terminated Clarence Gross from the position of

Deputy Liquor Commissioner Clarence Gross dep at 216-217, 259, 262-3)

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85. CC was terminated from the Town of Ciccro on September 23, 2002 after Betly
Loren-Maltese was no longer in office (Clarence Gross dep at 219).

86. Ramito Gonzalez was Town President when Clarence Gross was terminated.
(Clarence Gross dep at 259, 262-3).

87, Clarence Gross testified he has no “evidence that he was lerminated from his
employment as a result of having complained to Betty Loren-Maltese about [his]
daughter’s treatment by Jerry Rodish (Clarence Gross dep at 363).

88. Clarence Gross testified that he has no cvidence daughier was retaliated against in
any way because Clarence Gross complained to Betty about Rhonda’s treatment by
Rodish. (Clarence Gross dep at 363).

89, Clarence Gross testified that he hs no evidence that he was retaliated against in
any way by virtue of having complained on Rhonda’s behalf to Betty Loren-Maltese-

(Clarence Gross dep at 363).

  

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By:

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CERTIFICATE OF SERVICE

VERY

The undersigned attorney certifies that a copy of the foregoing Notice of Motion,

and a copy of Betty Loren Malt

ese’s & Edward R. Vrdolyak’s Motions for Summary

Judgment, their respective supporting memoranda, their respective Rule 56.1

Statement of Uncontested Facts and the

ir respective Exhibits in support. were served

on all counsel of record, as listed below, by Regular Mail, on September 2, 2006, at or

before 5:00 p.m.

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